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                                      APPENDIX E


                DEFENDANTS’ UNPUBLISHED CASES/AUTHORITIES
                   REPLY IN SUPPORT OF MOTION TO DISMISS

Case /Tab No.               CASE/AUTHORITY NAME                       Appx. page no.

      28.       Carlton v. Cannon, 2016 WL 3959164 (S.D. Tex. July 22, Appx. E-001-009
                2016)

      29.       Colossus Media, LLC v. Adalytics Research, LLC, 2025 Appx. E-010-019
                WL 712986 (D. Md. Mar. 5, 2025)
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                      Case No. 28




                                                                   Appx. E-001
       Case 4:24-cv-01940              Document 46-3
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                     &'()$*+$,-.-()/                               In this Memorandum and Opinion, the court amends its
012345$637348$9283:2;3$<=>:3?$6@9@$A4B78?$C=>83=1$92D282=1@        previous analysis to clarify the legal standard for control-
                                                                   person liability under § 20(a) and the application of
             97D4$<EF+AGH?$43$7I@?$JI72132KK8?                     that standard to the plaintiffs' allegations against Karnes.
                              D@                                   Although the analysis has changed, the outcome does not. The
             L:45$<EHHGH?$43$7I@?$94K4157138@                      plaintiffs have not sufficiently alleged a control-person claim
                                                                   against Karnes, and the motion for reconsideration is denied
                <MNM+$E<AMGH$HG@$C%(.%'(&                          for the reasons explained below.
                             O
                     62P145$'QR&&R&'()
                                                                   =@$AB+$0+C.D$E'.*/.)/$F()$.$5('3(*$F()$8+G(*-3/+).'3(*
&''()*+,-$.*/$0.1$23)4-                                            The Federal Rules of Civil Procedure do not specifically
                                                                   provide for motions for reconsideration. &'' &()$*+,-$.'/0,/1
Nicholas Porritt, Adam Marc Apton, Levi & Korsinsky, LLP,          234)$ 56)$ 7)$ 8+9/$ :/6,3;4$ 56/<), 123 F.3d 336, 339 (5th
Washington, DC, R. Dean Gresham, Gresham PC, Dallas,               Cir. 1997) (“[T]he Federal Rules of Civil Procedure do not
TX, Laurence M. Rosen, Phillip Kim, The Rosen Law Firm,            recognize a general motion for reconsideration.”). A court
P.A., New York, NY, James L. Gascoyne, Gascoyne Bullion            retains the power to revise an interlocutory order before
PC, Sugar Land, TX, for Plaintiffs.                                entering judgment adjudicating the parties' claims, rights,
                                                                   and liabilities. FED. R. CIV. P. 54(b). A Rule 59(e) motion
Amy Pharr Hefley, David D. Sterling, Baker Botts LLP,
                                                                   “calls into question the correctness of a judgment,” ='><-'(
Elizabeth Gene Myers, N. Scott Fletcher, Jones Day, Cristina
                                                                   7)$ ?1;/65@'>$ 230), 367 F.3d 473, 478–79 (5th Cir. 2004)
Espinoza Rodriguez, Hogan Lovells US LLP, Noelle M.
                                                                   (citing 23$/'$=/+34('A+4$:+4$ 56/<), 303 F.3d 571, 581 (5th
Reed, Wallis Mizell Hampton, Skadden Arps et al., Houston,
                                                                   Cir. 2002)); a motion that asks the court to change an order or
TX, Peter A. Spaeth, Gregory D. Chisholm, Alexandra
                                                                   judgment is generally considered a motion to alter or amend
Boudreau, Peter J. Kolovos, Wilmer Cutler Pickering Hale
                                                                   under Rule 59(e), =%.$B+0,,>$*/6;,0(4C$230)$7)$=D2&5C$230),
and Dorr LLP, Boston, MA, Michael G. Bongiorno, Wilmer
                                                                   No. 07-cv-4108, 2008 WL 2785636, at *2 (S.D. Tex. July 16,
Cutler Pickering Hale Dorr LLP, New York, NY, Jan Nielsen
                                                                   2008).
Little, Julia Sun Choe, Steven P. Ragland, Justina Kahn
Sessions, Keker Van Nest LLP, San Francisco, CA, for
                                                                   A Rule 59(e) motion “ ‘must clearly establish either a
Defendants.
                                                                   manifest error of law or fact or must present newly discovered
                                                                   evidence’ and ‘cannot be used to raise arguments which
                                                                   could, and should, have been made before the judgment
            56578&9:;5$&9:$7<=9=79                                 issued.’ ” E64'3FG'9H$ 7)$ DF,/9A$ 56/<), 332 F.3d 854, 863–
                                                                   64 (5th Cir. 2003) (quoting &9>63$7)$I39(';$&(+('4, 891 F.2d
Lee H. Rosenthal, United States District Judge
                                                                   1154, 1159 (5th Cir. 1990)). Changing an order or judgment
 >? Section 20(a) of the Securities Exchange Act of 1934,          under Rule 59(e) is an “extraordinary remedy” that courts use
15 U.S.C. § 78t(a), imposes civil liability on a person who        sparingly. ='><-'(, 367 F.3d at 479; 4''$+-46 11 WRIGHT &
“controls” another person who violated the federal securities      MILLER, FEDERAL PRACTICE & PROCEDURE § 2810.1
laws. In its May 4, 2016 Memorandum and Opinion, the court         at 124 (2d ed. 1995). The Rule 59(e) standard “favors denial
dismissed the control-person claims against KiOR's CEO,            of motions to alter or amend a judgment.” &)$ 5634(/,0(6/4
Fred Cannon; its CFO, John Karnes; and its cofounder and           :/<)C$ 230)$ 7)$ J13+-'0(/90$ 56), 2 F.3d 606, 611 (5th Cir.
majority shareholder, Vinod Khosla. The plaintiffs moved           1993). A motion to reconsider may not be used to relitigate
the court to reconsider its holding that they failed to allege     matters, raise arguments, or submit evidence that could have
a control-person claim against Karnes. (Docket Entry No.           been presented before the judgment or order was entered.
124). The plaintiffs do not seek reconsideration of the court's    11 WRIGHT & MILLER § 2810.1 at 127–28 (footnotes
holdings as to the claims against Cannon and Karnes under §        omitted).
10(b) of the Exchange Act, 15 U.S.C. § 78j(b), or the claims
against Cannon and Khosla under § 20(a).
                                                                   ==@$&*.D,-3-


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 >H The court's May 4, 2016 Memorandum and Opinion held              control-person liability on Karnes after the court ruled on the
that the plaintiffs' allegation that Cannon violated § 10(b) was     motion to dismiss, waiving the claim by failing to assert it
sufficient to avoid dismissal. The plaintiffs argue that because     earlier.
they adequately alleged Cannon's individual primary liability,
they also adequately alleged KiOR's corporate liability under        In their third amended complaint, the plaintiffs alleged that
respondeat superior. If KiOR is the “controlled” entity, the         “[t]hroughout the class period, the individual defendants
plaintiffs reason, Karnes is secondarily liable for KiOR's           exercised their power and authority to cause KiOR to
primary violation because he had the power as CFO to                 engage in the wrongful acts complained of herein. The
“control” the company. The plaintiffs contend that the               individual defendants therefore were ‘controlling persons’ of
court was wrong in holding that “Karnes could not be                 KiOR within the meaning of Section 20(a) of the Exchange
liable under Section 20(a) of the Exchange Act because               Act.” (Docket Entry No. 86 at ¶ 241). In their response to
he had not committed a primary violation under Section               the motion to dismiss, however, the plaintiffs did 36( argue
10(b)....” (Docket Entry No. 125 at p. 12). The court's              that KiOR had committed a primary violation or explain
statement that “Karnes is not liable under § 10(b), so he cannot     that Karnes faced § 20(a) liability based on his control over
be liable under a control-person theory,” is the basis for the       KiOR. Rather, the plaintiffs argued that because their third
motion to reconsider. (Docket Entry No. 113 at p. 92).               amended complaint “supported a claim against Cannon and
                                                                     Karnes under Section 10(b) of the Exchange Act, Cannon's
The court agrees that this statement is not well-phrased. The        and Karnes's motions to dismiss the Section 20(a) claim
court agrees that Karnes himself need not have committed a           must be denied.” (Docket Entry No. 97 at p. 62). In their
primary violation as a prerequisite to control-person liability      motion for reconsideration, by contrast, the plaintiffs argue
under § 20(a). A more accurate and precise statement would           that because “KiOR is a primary violator” and that because
be that Karnes is not liable for either a primary violation of §     “Karnes controlled KiOR,” Karnes is subject to control-
10(b) of the Exchange Act or liable as a control person. While       person liability. (Docket Entry No. 125 at p. 9–10).
the court wrongly stated the basis for control-person liability,
that error does not change the outcome.                              The record shows that the plaintiffs changed their theory
                                                                     of liability in the motion for reconsideration. Although the
The defendants present three arguments in response to the            plaintiffs' third amended complaint alleged control-person
plaintiffs' motion. The first is that the plaintiffs waived their    liability against Karnes based on KiOR's primary violation,
control-person claim against Karnes based on KiOR's primary          the plaintiffs did not raise or brief that issue in responding to
violation. The second is that even if the plaintiffs did not         the motion to dismiss. A party waives claims it fails to raise or
waive this claim, KiOR's corporate liability is secondary            brief. I39(';$&(+('4$7)$E'+H+3, 596 F.3d 251, 254–55 (5th Cir.
and control-person liability cannot be based on a secondary          2010). The plaintiffs' brief in response to Karnes's motion to
violation. Finally, the defendants argue that the third amended      dismiss did not argue or point to record or case-law support for
complaint does not allege that Karnes had the power to, or           the proposition that Karnes was liable as a control person for
did, control KiOR.                                                   KiOR's primary violation. As a result, neither Karnes's reply
                                                                     brief nor the court's Memorandum and Opinion addressed that
Each of these arguments is addressed below.                          argument.

                                                                      >K A motion for reconsideration cannot be used to advance a
   &@$I.3J+)                                                         new legal theory that could have been raised before the court
A motion for reconsideration “cannot be used to raise                ruled. The motion for reconsideration can be denied on that
arguments which could, and should, have been made before             basis. The court will, however, also address the merits of the
the judgment issued. [Nor can it] be used to argue a case            plaintiffs' arguments, which provide independent grounds for
under a new legal theory.” &9>63$ 7)$ I39(';$ &(+('4, 891            denying reconsideration.
F.2d 1154, 1159 (5th Cir. 1990) (quotation marks omitted);
4''$ +-46 K9--9+>4$ 7)$ =616(+$ .6(6/$ L3HMH$ N$ .OH)$ P)$ D>)C
230), 470 Fed.Appx. 309, 313 (5th Cir. 2012) (per curiam).             L@$AB+$0+C.D$E'.*/.)/$F()$M(*')(D%<+)-(*$03.N3D3',
The first question is whether the plaintiffs timely asserted a       Section 20(a) provides:
control-person claim against Karnes based on KiOR's primary
liability, or whether they changed the basis for imposing


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                                                                      not named in the complaint as a defendant, then a § 20 claim
                                                                      can stand if the individuals were controlling persons.”).
             Every person who, directly or
             indirectly, controls any person liable                   Courts have also held that the Bankruptcy Code's automatic-
             under any provision of this chapter or                   stay provision, 11 U.S.C. § 362(a)(1), does not prevent a
             of any rule or regulation thereunder                     plaintiff from asserting a control-person claim when the
             shall also be liable jointly and                         primary violator, as here, is a corporation in bankruptcy. 23
             severally with and to the same extent                    /'$=@6/3R,/H$.6/(H)C$230)C$&'0)$Q9(9H), 824 F. Supp. 2d 1214,
             as such controlled person to any person                  1279 (D. N.M. 2011) (collecting cases). 1 The courts reason
             to whom such controlled person is                        that the “liability of the primary violator is simply an element
             liable (including to the Commission                      of proof of a section 20(a) claim, and...liability need not be
             in any action brought under paragraph                    actually visited upon the primary violator before a controlling
             (1) or (3) of section 78u(d) of this                     person may be held liable for the primary violator's wrong.”
             title), unless the controlling person                    23$ /'$ 59(9&6,/0'C$ 230)C$ &'0)$ Q9(9H), 694 F. Supp. 1069, 1077
             acted in good faith and did not directly                 (S.D.N.Y. 1988). As one district court in this circuit has
             or indirectly induce the act or acts                     explained, “nothing in familiar and conceptually related
             constituting the violation or cause of                   attribution principles such as conspiracy membership, agency,
             action.                                                  or aider and abettor, demands a visiting of actual liability upon
                                                                      an active wrongdoer as a condition to an attribution of that
                                                                      liability.” T'14$7)$K6-O', 540 F. Supp. 1054, 1062 (N.D. Tex.
15 U.S.C. § 78t(a). A control-person claim requires sufficient        1982) (Higginbotham, J.), /'7M;$93$<+/($63$6(@'/$H/6,3;4C 709
factual allegations that a “controlled” individual or entity          F.2d 413 (5th Cir. 1983).
violated the securities laws and that the defendant had the
power to “control” that individual or entity. The legal standard      1       For example, at least three circuit courts have
for each requirement is addressed below.                                      allowed § 20(a) claims to proceed against
                                                                              individual defendants based on primary violations
                                                                              by a corporation subject to the automatic stay. &''C
               ?@$IB($M.*$L+$OM(*')(DD+/PQ                                    ')H), 23$/'$&,</'>+, 438 F.3d at 285–86; 23$/'$&(63'
                                                                              N$K'R4('/C$230)C$&'0)$Q9(9H), 424 F.3d 24, 27 (1st Cir.
“Control person liability is secondary only and cannot exist                  2005); ?6G+/;$7)$L7'/'A$&14)C$230), 228 F.3d 1057,
in the absence of a primary violation.” &6,(@-+3;$&'0)$56/<)                  1059–60, 1065–66 (9th Cir. 2000).
7)$2P&<9/'$234)$&6-4)C$230), 365 F.3d 353, 383 (5th Cir. 2003).
Although the Fifth Circuit has not directly addressed the
issue, other courts hold that the primary violator can be a                              H@$IB($R.-$OM(*')(DPQ
corporation and need not be named in the same action against
                                                                       >S “The legislative history of [§ 20(a) ] demonstrates that
the defendant allegedly subject to control-person liability.
                                                                      Congress enacted [that] section[ ] to address the specific evil
23$ /'$ &,</'>'$ &<'09+-9(9'4C$ 230)C$ &'0)$ Q9(9H), 438 F.3d 256,
                                                                      of persons seeking to evade liability under the [securities
285 (3d Cir. 2006), +R/6H+(';$63$6(@'/$H/6,3;4$R1$='--+R4C
                                                                      laws] by organizing ‘dummies,’ that, acting under their
230)$7)$.+S6/$244,'4$N$E9H@(4C$Q)=)J), 551 U.S. 308 (2007)
                                                                      control, would commit the prohibited acts.” *+,-$8)$P'G(63
(“[T]here is no requirement in the language of [§ 20(a) ]
                                                                      N$ 56)$ 7)$ ='A)$ 56>>'/0'$ U+3S, 630 F.2d 1111, 1118 (5th
that the controlled person be named as a defendant as a
                                                                      Cir. 1980). In keeping with the “remedial purpose of the
predicate to imposing liability upon the controlling individual
                                                                      federal securities acts,” 9;) at 1119, the SEC has interpreted
defendants.”);T'>>'/'/$ 7)$ K'+7'/, 445 F.2d 76, 78 (7th
                                                                      the term “control” broadly to include “the possession, direct
Cir. 1971) (control-person liability adequately alleged based
                                                                      or indirect, of the power to direct or cause the direction of
on a primary violation by a nondefendant, since-dissolved
                                                                      the management and policies of a person, whether through the
association); 23$/'$?+1'4$Q'>>'/F$23(M-C$230), 271 F. Supp. 2d
                                                                      ownership of voting securities, by contract, or otherwise,” 17
1007, 1021 n.11 (E.D. Mich. 2003) (“[I]f the complaint states
                                                                      C.F.R. § 230.405.
a primary violation by the Company, even if the Company is




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In the Fifth Circuit, alleging and proving control-person              The circuits have offered additional, varying approaches.
liability does not require pleading facts that would show the          .'(H'$ 7)$ U+'@-'/, 762 F.2d 621 (8th Cir. 1985), set out
control person's “participation in the wrongful transaction.”          the most widely cited test. A plaintiff must show that the
:)D)$=@6><463$N$56)C$230)$7)$*+/(/9;H', 636 F.2d 945, 958              defendant: (1) “actually participated in (i.e., exercised control
(5th Cir. 1981). 2 At the same time, “status alone will not            over) the operations of the corporation in general” and (2)
automatically cause [a defendant] to be deemed a...controlling         “possessed the power to control the specific transaction or
person.” J'3394$ 7)$ :'3)$ 2>+H93HC$ 230), 918 F.2d 496, 509           activity upon which the primary violation is predicated,”
(5th Cir. 1990). The precise legal standard remains somewhat           even though “he need not prove that this later power was
unclear. Among other questions, the Fifth Circuit has asked            exercised.” 2;) at 631 (quotation marks omitted). The Fifth
whether the defendant:                                                 Circuit has repeatedly declined to address the extent to which
                                                                       its case law fits within .'(H'’s framework or whether it has
    • had “effective day-to-day control” of the corporation,           adopted either or both of .'(H'’s prongs. ?'0S$7)$=/90@', 775
      5+>'/63$7)$V,(;66/$E'46/(4$6O$D>)C$230), 608 F.2d 187,           F.3d 265, 283 n.18 (5th Cir. 2014);DRR6($7)$LW,9(1$:/6,<C$230),
      195 (5th Cir. 1979), >6;9O9';$63$6(@'/$H/6,3;4$63$<+3'-          2 F.3d 613, 620 (5th Cir. 1993). 4
      /'@MH, 611 F.2d 105 (5th Cir. 1980) (per curiam);
                                                                       4
    • had “the requisite power to directly or indirectly control or            A court in this district has held that neither
       influence corporate policy,” =@6><463, 636 F.2d at 958;                 Fifth Circuit precedent nor the large size of
                                                                               modern corporations supported applying .'(H'’s
    • had “actual power or influence over the controlled                       first prong because it is “unlikely...that any single
      person,” J'3394, 918 F.2d at 509; 3 or                                   individual would have control of every particular
                                                                               division or engagement” of a “large, complex”
    • “actual[ly] exercise[d]...that power,” DRR6($ 7)$ LW,9(1                 firm. 23$/'$L3/63$56/<)$&'0)C$J'/97+(97'$N$LE2&D
      :/6,<C$230), 2 F.3d 613, 620 (5th Cir. 1993) (declining                  Q9(9H), No. 01-cv-3624, 2003 WL 230688, at *17–
      to establish a controlling legal standard); 4''$+-46$?'0S                18 (S.D. Tex. Jan. 28, 2003).
      7)$=/90@', 775 F.3d 265, 283 n.18 (5th Cir. 2014) (same).
                                                                        >T Whatever control-person liability demands beyond a
                                                                       defendant's corporate status but short of culpable participation
2
         U,($ 4''C$ ')H), &L5$ 7)$ 89/4($ X'/4'1$ &'0)C$ 230), 101     in the primary violation, a plaintiff “must at least show that
         F.3d 1450, 1472 (2d Cir. 1996) (requiring culpable            the defendant had an ability to control the specific transaction
         participation); E60@'F$U/64)C$230)$7)$E@6+;'4, 527            or activity upon which the primary violation is based.” ?'0S,
         F.2d 880, 885 (3d Cir. 1975) (same).                          775 F.3d at 283 (quoting .''S$ 7)$ ?6G+/;C$ K'9-C$ Q+R6944'C
3                                                                      8/9';/90@4C$230), 95 F.3d 45, at *3 (5th Cir. 1996) (per curiam)
         J'3394 also stated that a plaintiff must show
                                                                       (unpublished)). The Fifth Circuit case law demonstrates that
         that the defendant “induced or participated in the
                                                                       the ability-to-control requirement plays an important role in
         alleged violation.” 918 F.2d at 509. As a later Fifth
                                                                       § 20(a) liability.
         Circuit panel recognized, this holding conflicts
         with the circuit's earlier decision in =@6><463,
                                                                       The Fifth Circuit has found support for a control-person
         which rejected an actual-participation requirement.
                                                                       claim when the defendant's role gave him the power to
         DRR6($ 7)$ LW,9(1$ :/<)C$ 230), 2 F.3d 613, 620 n.18
                                                                       control the fraudulent transaction or activity. In =@6><463,
         (5th Cir. 1993). Under the prior-panel-precedent
                                                                       for example, the plaintiff sued several officers, directors,
         rule, the court must follow =@6><463 to the extent
                                                                       and shareholders in a mortgage-loan-marketing company. 636
         J'3394 is inconsistent. &>9(@$ 7)$ :=L, 236 F.3d
                                                                       F.2d at 949. The Fifth Circuit considered whether the district
         1292, 1300 n.8 (5th Cir. 2001) (“[T]he holding
                                                                       court erred in failing to grant a director-defendant's motion
         of the first panel to address an issue is the law
                                                                       for judgment as a matter of law dismissing the control-person
         of this Circuit, thereby binding all subsequent
                                                                       claim. Because the evidence showed that the defendant “was
         panels unless and until the first panel's holding is
                                                                       not only a 24% stockholder and an officer and director, but
         overruled by the Court sitting en banc or by the
                                                                       was apparently involved in the day-to-day coordination of
         Supreme Court.”).
                                                                       the loan gathering,”—the conduct forming the basis for the
                                                                       primary violation—the Fifth Circuit held that the plaintiff had



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“established that [the defendant] had the requisite power to        they “nor their respective employees and representatives were
directly or indirectly control or influence corporate policy.”      stockholders, directors, officers, employees, or partners of
2;) at 958.                                                         [the primary-violator corporation]; they did not attend its
                                                                    board or committee meetings; they were not involved in
?'0S$ 7)$ =/90@', 775 F.3d 265 (5th Cir. 2014), the Fifth           decisions by [the primary violator] to purchase properties
Circuit's most recent discussion of control-person liability,       for syndications to investors; they were not involved in
is similar. 5 The primary violator in ?'0S was the CEO of           operations of properties purchased by [the primary violator]
an antique-investment firm who issued allegedly misleading          or its affiliates; and they were not otherwise involved in
prospectuses to raise money from private investors. The             the general operations of [the primary violator], including
control-person defendant was a certified public accountant          business, financial and marketing plans.” 2;) at 620. The court
who helped draft the prospectuses. 2;) at 268. The Fifth            rejected the argument that the defendant companies could
Circuit found a sufficient basis to support control-person          be liable as control persons because their participation was
liability. 2;) at 282–84. The court reasoned that the CEO “was      essential to financing the allegedly fraudulent transactions.
dependent” on the defendant “to get him out of debt,” that the      That evidence did not show an ability to control the primary
defendant “contributed and approved the financial concepts          violator and was not “probative of [the defendants'] influence
detailed in the prospectus,” and that the CEO “checked in           beyond the [allegedly fraudulent] transaction” at issue. 2;) at
with [the defendant] after every investment.” 2;) at 284. The       620–21.
court concluded that “[t]he evidence permit[ted] a finding
that [the defendant] effectively controlled [the CEO] in the         >U .''S is another similar case. The court granted the
creation of [the company], drafting the relevant portions of the    two brokerage-firm defendants summary judgment on the
[company's] pool document, soliciting loans from investors,         control-person claims because the evidence did not show
and pledging of [the company's] inventory....” 2;)                  their ability to control the specific fraud the primary-violator
                                                                    broker allegedly perpetrated. 95 F.3d at *3. Although the
5                                                                   record showed that the brokerage firms “had influence over
       Although the claim in ?'0S arose under Louisiana
                                                                    [the broker's] commodities trading,” it did not show that the
       state law, the Fifth Circuit construed the Louisiana
                                                                    firms “had anything to do with [the broker's] handling of the
       and the federal control-person statutes in a parallel
                                                                    [plaintiffs'] securities investments, or any power to control his
       fashion. &'' 775 F.3d at 283.
                                                                    handling of those investments.” 2;)
When the Fifth Circuit has found insufficient support for a
control-person claim, the defendant's role put the fraudulent       Based on this case law, the question is whether the plaintiffs
transaction or activity outside his ability to control. In          have “at least [alleged facts] show[ing] that [Karnes] had
J'3394, for example, the record showed that one defendant           an ability to control the specific transaction or activity upon
“owned a minority position” in the corporation, another was a       which the primary violation is based.” &'' 9;) at 283.
director who “had no knowledge” of the allegedly fraudulent
operations, and a third was a “nominal shareholder” who
had “tried numerous times to obtain information concerning            M@$:3-GV--3(*
the [allegedly fraudulent] financial conduct...but was always
rebuffed.” J'3394, 918 F.2d at 509–10. The circuit court                       ?@$AB+$=*'+)WD.,$L+'1++*$M(*')(D%
affirmed summary judgment for the defendants dismissing the                 <+)-(*$.*/$8+-W(*/+.'$EVW+)3()$03.N3D3',
control-person claims against them. 2;)
                                                                    Karnes argues that because KiOR's respondeat superior
DRR6($ 7)$ LW,9(1$ :/6,<C$ 230), 2 F.3d 613 (5th Cir. 1993),        liability is itself a form of secondary liability, it cannot be
is similar. The plaintiffs asserted control-person claims           the basis for a control-person claim, which requires a primary
against a surety corporation and a bonding-agent corporation        violation. Section 20(a) does not require the “controlled”
based on their participation in allegedly fraudulent financial      person to have committed a “primary,” as opposed to a
transactions. The primary violator was a partnership formed         “secondary,” violation. The statute merely states that a
to operate a Houston apartment community. The court                 “controlled” person may be “any person liable under any
granted the two defendants summary judgment dismissing              provision of this chapter.” 15 U.S.C. § 78t(a). Nor does
the control-person claims. The evidence showed that neither         the case law support the distinction Karnes advocates. The



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Supreme Court has made clear that “[a]ny person 6/$'3(9(1...        >X Karnes relies on the Fifth Circuit's decision in P'G(63
may be liable +4$ +$ </9>+/1$ 796-+(6/ under Section 10b-5,        to argue that respondeat superior liability cannot support a
assuming all of the requirements for primary liability under       control-person claim. The P'G(63 court held that “common
Rule 10b-5 are met.” 5'3(/+-$U+3S$6O$J'37'/C$P)D)$7)$89/4(         law agency principles, including the doctrine of respondeat
23('/4(+('$ U+3S$ 6O$ J'37'/C$ P)D), 511 U.S. 164, 191 (1994)      superior, remain viable in actions brought under the Securities
(emphasis added). The Fifth Circuit has rejected the argument      Exchange Act and provide a means of imposing secondary
that § 20(a) “exclude[s] the application of common law             liability for violations of the [Exchange] Act independent
agency principles such as respondeat superior.” P'G(63, 630        of § 20(a).” 630 F.2d at 1118. These two liability theories
F.2d at 1114.                                                      are complementary, not contradictory. “Under respondeat
                                                                   superior liability it is the employing organization that is liable.
If, as Karnes argues, respondeat superior liability cannot         Whereas, under control person liability, responsibility can be
give rise to a control-person claim, that would shield from        imposed upon the supervisor of the primary participant, even
§ 20(a) liability any defendant alleged to have controlled         though the supervisor is not the employing organization.”
a corporation liable under § 10(b). This conclusion follows        JAMES D. COX & THOMAS LEE HAZEN, 2 TREATISE
from the fact that a corporation “can conduct its affairs only     ON THE LAW OF CORPORATIONS § 12:9 (3d ed. 2015).
through its officers and employees.” ?6->'4$7)$U+('463, 583        Recognizing this distinction, the P'G(63 court reasoned that
F.2d 542, 560 (1st Cir. 1978). “One of the cornerstones            Congress enacted § 20(a) to reach those corporate officers
of corporate law is that a corporation is responsible              on “whom agency law or other common law principles
for the acts and omissions of its agents, officers, and            would not [otherwise] impose liability.” P'G(63, 630 F.2d
employees acting under the corporate manner.” 2;); 4''$+-46        at 1118; 4''$+-46 23$/'$B9--+, 261 F.3d 1148, 1153 (11th Cir.
RESTATEMENT (THIRD) OF AGENCY § 2.04 (respondeat                   2001) (citing P'G(63 and concluding that “corporate officers
superior makes an employer “subject to liability for torts         and directors, persons who are presumptively beyond the
committed by employees while acting within the scope of            reach of respondeat superior, may be caught in the net of §
their employment.”). And respondeat superior “long has             20(a)” (footnote omitted)).
been applied to impose...liability in federal securities and
criminal cases even where the principal itself has committed       This court found that the plaintiffs' third amended complaint
no primary violation.” 23$/'$*+/>+-+($&'0)$Q9(9H), 474 F. Supp.    adequately alleged Cannon's primary violation. KiOR may
2d 547, 550 (S.D.N.Y. 2007).                                       be liable “with respect to those same...statements, as
                                                                   having respondeat superior liability for those violations by
A primary violation of the Exchange Act occurs when                [Cannon].” &'' &6,(@-+3;, 365 F.3d at 383. But even if KiOR
“any <'/463, directly or indirectly ...use[s] or employ[s], in     is a “controlled” entity under § 20(a), the plaintiffs must also
connection with the purchase or sale of any security...any         sufficiently allege that it was Karnes who had the power
manipulative or deceptive device.” 15 U.S.C. § 78j(b)              to “control” KiOR in order to allege control-person liability
(emphasis added). A “person” is “a natural person,                 against him.
06><+31, government, or political subdivision, agency, or
instrumentality of a government.” 15 U.S.C. § 78c(a)(9)
(emphasis added). As a result, “[i]n order for a company
                                                                              H@$IB+'B+)$'B+$<D.3*'3FF-Y$&DD+C.'3(*-
to be liable as a ‘person’ under Section 10(b), agency
                                                                              EB(1$AB.'$Z.)*+-$M(*')(DD+/$Z378
liability must be recognized, because an entity can only
act through its agents.” D-7+/+;6$ 7)$ .6/H+3$ &(+3-'1$ J'+3       The court's May 4, 2016 Memorandum and Opinion identified
K9(('/C$230), 448 F. Supp. 2d 333, 338 (D. P.R. 2006). When        Cannon's statements about how the Columbus plant operated
a primary violator's conduct is attributed to a corporation        from November 2012 to January 2014 as giving rise to
under respondeat superior, the Fifth Circuit has treated that      liability under § 10(b). Cannon made these statements on
corporation as a primary violator. &6,(@-+3;, 365 F.3d at 383.     earnings calls and in press releases. The plaintiffs' theory was
Other circuits' case law is consistent. &'' D;+>4$7)$T93;'/%       that Cannon misrepresented the severity of the problems at
.6/H+3C$ 230), 340 F.3d 1083, 1106 (10th Cir. 2003); &,'F          the Columbus plant by downplaying them as normal “start-
LW,9(1$ 237M/4C$ Q)*)$ 7)$=6/63(6%J6>93963$U+3S, 250 F.3d 87,      up” issues that did not implicate KiOR's core technology
101 (2d Cir. 2001).                                                or impede the plant's ability to operate at commercial
                                                                   scale. (Docket Entry No. 97 at p. 8). The theory was that



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Cannon misled investors into believing that KiOR “was a
viable business” when it was not. (2;)). Although respondeat           >[ The plaintiffs also argue that Karnes is liable as a
superior imputes Cannon's wrongful conduct to KiOR, the               control person because he had a “duty” to “correct promptly
plaintiffs must still plead facts sufficient to allege that Karnes    any public statements issued by KiOR which had become
had “an ability to control the specific transaction or activity       materially false or misleading.” (Docket Entry No. 125 at p.
upon which the primary violation is based.” ?'0S, 775 F.3d            11). Section 20(a) liability is based on the power to control,
at 283.                                                               not on a duty to correct. Even if Karnes had this duty, and
                                                                      breached it, that does not show that he had the ability to
The plaintiffs have not alleged facts showing or supporting           control Cannon's statements, imputed to KiOR, that violated
an inference that Karnes, the company's CFO, had the ability          § 10(b).
to control what KiOR, acting through its agents, said in
press releases or on earnings calls about plant operations or         The plaintiffs cite two district court cases, but each is different
company technology. Nor do the pleadings allege facts that            and distinguishable. In Y+H+>9$ 7)$ P+(,/+-$ ?'+-(@$ =/'3;4
show or support the inference that Karnes had the ability to          56/<), 540 F. Supp. 2d 705 (N.D. Tex. 2008), the court held
control Cannon's allegedly misleading statements that gave            that the plaintiffs had sufficiently alleged a control-person
rise to his and KiOR's liability under § 10(b). The plaintiffs        claim against a company's internal director. This director
have not alleged that Karnes was involved in overseeing the           allegedly reviewed the company's financial statements and
Columbus plant operations or responsible for developing or            internal accounting controls during the relevant period. The
monitoring the technology or its implementation, much less            company was the primary violator liable under § 10(b) for
that he had the power to control Cannon's or KiOR's public            failing to disclose related-party transactions. The plaintiffs
statements about those topics or areas. 6                             alleged that the defendant was the “independent director and
                                                                      chair” of the audit committee “charged with reviewing and
6                                                                     approving all related-party transactions” when the failure
        The court's dismissal of the § 20(a) claims against
                                                                      to disclose occurred. 2;) at 716. The allegations pleaded
        Khosla, the majority shareholder, is consistent
                                                                      facts showing the defendant's “ability to control the specific
        with this analysis. As the court explained in its
                                                                      transaction or activity upon which the primary violation [was]
        Memorandum and Opinion, even if Khosla was
                                                                      based.” ?'0S, 775 F.3d at 283.
        heavily involved in KiOR's affairs, without factual
        allegations showing or supporting an inference
                                                                      23$/'$=L=ED$='0@36-6H9'4C$230)C$&'0,/9(9'4$Q9(9H+(963, No. 08-
        that he had the ability to control the press-release
                                                                      cv-965, 2009 WL 6325540 (S.D. Tex. July 9, 2009), +OOM;
        and earnings-call statements giving rise to § 10(b)
                                                                      63$ /'@MH, 2009 WL 6326865 (S.D. Tex. Aug. 10, 2009), is
        liability, the control-person claims against him fail.
                                                                      similar to Y+H+>9. The plaintiffs asserted a control-person
The plaintiffs stress Karnes's role as a high-ranking corporate       claim against a corporate officer. The primary violator, the
officer and his participation in the day-to-day operations of         company, was liable under § 10(b) for “misstatements that
the company. (Docket Entry No. 125 at p. 11). The plaintiffs          insurance costs would be reimbursed when they knew that
appear to suggest that because KiOR is the “controlled”               the insurance claims had already been denied.” 2;) at *2.
entity, and because it may be liable under respondeat                 The court held that the plaintiffs had stated a control-person
superior, alleging Karnes's general participation in corporate        claim because they had sufficiently alleged the defendant's
governance is enough. The case law makes clear that “status           “involvement and supervision of the insurance claims” and
alone will not automatically cause [a defendant] to be deemed         “control over the insurance receivables situation.” 2;) at *1.
a ...controlling person,” J'3394, 918 F.2d at 509. General
allegations about day-to-day participation in corporate affairs       In Y+H+>9 and =L=ED, the complaints plausibly alleged a
are insufficient to allege the ability to control the “4<'09O90”      control-person claim based on facts showing or supporting an
transaction identified as the basis for primary liability. &''        inference that the control-person defendant had the power to
?'0S, 775 F.3d at 283 (emphasis added); 4''$ +-46 .'(H',              control the conduct forming the basis of the § 10(b) violation.
762 F.2d at 631 (requiring both actual participation in               The allegations here, by contrast, show a CFO who had
corporate affairs and “the power to control the specific              neither the power to control the type of statements alleged
transaction or activity upon which the primary violation is           to be misleading nor the specific statements that gave rise to
predicated” (quotation marks omitted)).



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Cannon's and KiOR's § 10(b) liability. The plaintiffs have not
alleged a basis to impose control-person liability on Karnes.        SIGNED on July 22, 2016, at Houston, Texas.


                                                                     &DD$M3'.'3(*-
===@$M(*GDV-3(*
The motion for reconsideration is denied. (Docket Entry No.          Not Reported in Fed. Supp., 2016 WL 3959164, Fed. Sec. L.
124).
                                                                     Rep. P 99,239

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                      Case No. 29




                                                                    Appx. E-010
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                    &'&($)*$+,&-./                                “Publishers auction advertising space on their websites
      0123$456$)674289$:;484;<1$;7$:=>>61423$8?8;28@26A           through SSPs like Colossus SSP. Large brands and other
        B1;46C$D48467$E;74>;:4$F<=>4G$EA$H8>3281CA                advertisers buy advertising space through DSPs [demand
                                                                  side platforms].” (ECF No. 9 ¶ 11). Plaintiff “transacts with
                F0*0DDBD$HIEJKG$**F                               DSPs to deliver ad inventory to target audiences. Advertisers
                             ?A                                   want to ensure that their ads are going to their respective
             KEK*LMJFD$NIDIKNFOG$**F                              target audiences. To ensure that ads are served to the buyer's
                                                                  target audience, SSPs and DSPs use cookie-based user IDs
               F;?;2$K:4;<1$P<A$EQF$&R%,R'&                       to identify, track, and categorize consumers.” 2 (ECF No. 9
                              S                                   ¶ 12).
                     T;26C$H8>:5$(G$&'&(
                                                                  2      Plaintiff provides the following example to
&''()*+,-$.*/$0.1$23)4-
                                                                         illustrate this technical process:
Ava E. Lias Booker, Melissa O. Martinez, McGuireWoods                       Person A visits ESPN's website on his laptop.
LLP, Baltimore, MD, Daniel P. Withers, I, Pro Hac Vice,                     Person A is associated with a sports audience
McGuireWoods, LLP, Dallas, TX, Lucy Jewett Wheatley,                        segment, and the internet browser declares a user
Pro Hac Vice, McGuireWoods LLP, Richmond, VA, Robert                        ID for Person A that is sent to an SSP. The
Muckenfuss, Pro Hac Vice, McGuireWoods LLP, Charlotte,                      advertising space on the ESPN webpage that
NC, for Colossus Media, LLC.                                                Person A is viewing is effectively for auction
                                                                            or sale, and the SSP sends a request for bids
Koushik Bhattacharya, Schulman Bhattacharya, LLC, North                     on that ad space to a DSP. To send the bid
Bethesda, MD, for Adalytics Research, LLC.                                  request, the SSP matches Person A's user cookie
                                                                            ID with a DSP user ID within the parameters
                                                                            of the DSP's targeted sports audience segment.
              56578&9:;5$7<=9=79                                            Based on the match between the SSP user ID
                                                                            and the corresponding DSP user ID within the
DEBORAH K. CHASANOW, United States District Judge
                                                                            targeted sports segment, the DSP then bids on the
 >? Presently pending and ready for resolution in this false                ad space on behalf of the brand. The brand's ad
advertising and defamation case brought by Plaintiff Colossus               then appears on the ESPN website that Person A
Media, LLC (“Colossus” or “Plaintiff”) against Defendant                    is viewing.
Adalytics Research, LLC (“Adalytics” or “Defendant”) is the              (ECF No. 9 ¶ 12).
motion to dismiss filed by Defendant. (ECF No. 19). The           Plaintiff alleges that this process happens “extremely quickly-
issues have been briefed, and the court now rules, no hearing     in less than half a second-and on a massive scale.” (ECF No. 9
being deemed necessary. Local Rule 105.6. For the following       ¶ 13). Plaintiff transacts with several DSPs, some directly and
reasons, the motion to dismiss will be denied.                    others indirectly. (ECF No. 9 ¶ 14). The majority of Plaintiff's
                                                                  “business comes from transactions with DSPs that Colossus
                                                                  SSP sends through ... [a company called] BidSwitch, an
=@$A.BCD)(E*/ 1                                                   intermediary that helps connect SSPs with DSPs.” (ECF No. 9
1                                                                 ¶ 14). When Plaintiff used an intermediary such as BidSwitch,
       The following facts are set forth in the amended
       complaint and construed in the light most favorable        “there is an additional layer of ID matching.” (ECF No. 9 ¶
       to Plaintiff.                                              14).

Plaintiff “is a sell-side platform (“SSP”) that provides          One of the DSPs Plaintiff transacts with through BidSwitch
advertisers of all sizes a programmatic advertising platform
                                                                  is a DSP called The Trade Desk (“Trade Desk”). (ECF No. 9
that automates the sale of ad[vertisement (“ad”)] inventory       ¶ 14). Plaintiff describes this process as follows:
between advertisers and agencies leveraging proprietary
technology.” (ECF No. 9 ¶ 1). Plaintiff's parent company is
Direct Digital Holdings, Inc. (“DRCT”). (ECF No. 9 ¶ 1).


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                                                                       received from Defendant. (ECF No. 9 ¶ 20). “Based on the
                                                                       limited information that the reporters provided to Colossus
              >F [W]hen Person A visits the                            SSP about the post, Colossus SSP knew that Adalytics' post
             ESPN website, and the browser-                            contained false and inaccurate information about Colossus
             declared user cookie ID for Person A                      SSP.” (ECF No. 9 ¶ 20).
             is associated with a sports segment
             and sent to Colossus SSP, instead                         Plaintiff contends that Plaintiff and its parent company
             of matching Person A's user cookie                        reached out to Defendant on May 8 and May 9, 2024, to
             ID with a DSP user ID such as a                           tell Defendant that its post “contained false and inaccurate
             Trade Desk ID (“TDID”), Colossus                          statements.” (ECF No. 9 ¶ 21). Plaintiff and its parent
             SSP matches the user cookie ID                            company asked for a copy of the post to allow Plaintiff to
             with a BidSwitch ID. BidSwitch then                       give Defendant information to correct these false statements.
             matches the BidSwitch user ID with a                      (ECF No. 9 ¶ 21). Plaintiff and its parent company also
             user ID on the DSP side. This matched                     notified Defendant “that they were prepared to provide all
             user ID on the DSP side may or may                        the facts and information establishing Adalytics' post was
             not be a TDID depending on which                          false.” (ECF No. 9 ¶ 21). Plaintiff alleges that Defendant
             DSPs BidSwitch decides to send the                        refused to provide Plaintiff with a copy of the post prior
             bid request to. Colossus SSP has no                       to publishing it, and Defendant also refused to speak with
             control or knowledge of the DSPs to                       Plaintiff before Defendant published the post. (ECF No. 9 ¶
             which BidSwitch sends a particular bid                    22).
             request, the DSP user IDs, or the value
             of any particular DSP user ID.                            On May 10, 2024, Defendant published the blog post:
                                                                       “Are user IDs declared consistently in ad auctions?” on its
                                                                       website. (ECF No. 9 ¶ 23). Plaintiff contends that “[t]he
                                                                       post makes false and misleading statements about Colossus
(ECF No. 9 ¶ 14).
                                                                       SSP and its business to instill distrust of Colossus SSP and
                                                                       other ad technology products among ad buyers and other ad
Plaintiff alleges that Defendant “is a for-profit company that
                                                                       technology vendors for the purpose of winning new business
purports to conduct advertising analytics to serve brands and
advertisement buyers.” (ECF No. 9 ¶ 16). “Adalytics provides           from ad buyers.” (ECF No. 9 ¶ 23). Plaintiff alleges that “[t]he
                                                                       post portrayed Colossus SSP as mis-declaring user IDs in its
so-called analysis on digital advertising performance and
advertising technology vendors, publishers, and campaigns              bid requests for the purpose of selling ad space at higher prices
                                                                       to ad buyers seeking to serve advertisements to a targeted
that improperly serve advertisements. Advertisement buyers
                                                                       audience.” (ECF No. 9 ¶ 24). Specifically, Plaintiff alleges
pay Adalytics for information on ad technology vendors and
                                                                       that:
publishers that improperly serve their advertisements.” (ECF
No. 9 ¶ 17). Plaintiff alleges that Defendant “acknowledges
that its posts are generated to advertise its services,
stating: ‘Like many other companies, we release thought                             [i]n the post, Adalytics purported to
leadership on systemic issues affecting brands and their media                      analyze and compare advertisements
investments ... to ... attract new clientele.’ ” (ECF No. 9 ¶ 18).                  and bid responses on the Trade
                                                                                    Desk DSP through 16 different SSPs,
Plaintiff further alleges that “Adalytics' business thrives on                      including Colossus SSP, in order to
creating distrust between advertiser buyers and advertising                         match the TDID declared by the SSP
technology vendors and products. Adalytics is known for                             in its bid request and the actual cookie
publishing inflammatory blog posts regarding advertising                            TDID stored in the user's browser. The
technology vendors and products for the purpose of winning                          post concluded that Colossus SSP is
new advertiser customers.” (ECF No. 9 ¶ 19).                                        the only SSP for which there were
                                                                                    consistent misdeclarations of user IDs
In May 2024, several reporters reached out to Plaintiff about                       —that is, the TDID declared by
an advance copy of a blog post about Plaintiff the reporters                        Colossus SSP in its bid request did



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             not match the user's actual cookie                      thereby manipulating or falsifying prior activity of users).’
             TDID. The post further concluded                        ” (ECF No. 9 ¶ 32).
             that for the other fifteen SSPs, the
             TDID declared by the SSP “always                        Plaintiff contends that “there were discrepancies between the
             perfectly” matched the user's actual                    TDID sent in the bid response and the TDID in the user's
             cookie TDID.                                            browser for transactions between Trade Desk and other SSPs
                                                                     that connect to Trade Desk through an intermediary.” (ECF
                                                                     No. 9 ¶ 28). Plaintiff alleges upon information and belief
>G (ECF No. 9 ¶ 25).                                                 Defendant “doctored” a screenshot in its post to illustrate
                                                                     a lack of discrepancies for a different SSP. (ECF No. 9 ¶¶
Plaintiff contends that these statements “are false and              29-30).
misleading” because Plaintiff “does not mis-declare or
otherwise manipulate or alter user IDs in its bid                    Plaintiff alleges upon information and belief that Defendant
requests.” (ECF No. 9 ¶ 26). Plaintiff alleges that “it is           “actively worked to amplify these false statements in
not possible for Colossus SSP to mis-declare a user's TDID           the marketplace in an attempt to destroy Colossus SSP's
because Colossus SSP connects to Trade Desk through                  business and reputation.” (ECF No. 9 ¶ 31). Plaintiff
BidSwitch and has no control or knowledge of whether                 alleges that Defendant acted with knowledge because “[a]s
BidSwitch sends a particular bid request to Trade Desk or            a company that claims expertise in advertising technology
another DSP.” (ECF No. 9 ¶ 26). Further, “[e]ven if BidSwitch        and programmatic advertising, Adalytics would be well aware
sends a bid request to Trade Desk, Colossus SSP has no               that Colossus SSP, because its transactions occur within
knowledge of the TDIDs or the values associated with those           fractions of a second and go through an intermediary, could
TDIDs.” (ECF No. 9 ¶ 26).                                            not systematically ‘fake’ TDIDs to generate more revenue, as
                                                                     the Adalytics post states and/or implies.” (ECF No. 9 ¶ 33).
Although Defendant's post acknowledged that Plaintiff
“connected to Trade Desk through BidSwitch,” the                     Plaintiff contends that Defendant acted with malice by
post “concluded that the mis-declared user TDIDs in                  distributing the post to the media without asking Plaintiff
Colossus SSP's bid requests were unrelated to BidSwitch.”            for an explanation. (ECF No. 9 ¶ 35). Plaintiff alleges that
Additionally, the amended complaint alleges that the post            this demonstrated that Defendant's “only goal was to spark
falsely found that for the other fifteen SSPs that transact with     demand for its ‘ad transparency’ services by creating a media
Trade Desk that Defendant studied,                                   firestorm” about Plaintiff. (ECF No. 9 ¶ 35).

                                                                      >H Several media outlets published articles based on
                                                                     Defendant's post. Plaintiff contends that the “articles further
             the TDID declared by the SSP in its bid
                                                                     demonstrate the defamatory meaning of the Adalytics post:
             response ‘always perfectly’ matched
                                                                     that Colossus SSP misdeclared user IDs in its bid requests for
             the TDID in the user's browser. The
             post further stated that there were no                  the purpose of increasing its sales.” (ECF No. 9 ¶ 36).
             technical explanations for the mis-
             declared user IDs in Colossus SSP                       Plaintiff alleges that Defendant's post “has caused massive
                                                                     harm to Colossus SSP's business and reputation and threatens
             bid requests, furthering the post's
                                                                     its very existence.” (ECF No. 9 ¶ 42). Plaintiff alleges that
             false, defamatory, and disparaging
             conclusion that Colossus SSP mis-                       on or about May 8 or 9, 2024, after Defendant shared an
                                                                     advanced copy of the post with the media, “on May 9, 2024,
             declared user TDIDs.
                                                                     Trade Desk suspended business with Colossus SSP because
                                                                     of the post's claims that Colossus SSP misrepresented user
                                                                     IDs in its bid requests.” (ECF No. 9 ¶ 43). Additionally,
(ECF No. 9 ¶ 27). Additionally, Plaintiff alleges that
                                                                     several hours after Defendant published the post on May
“[t]he post falsely defines Colossus SSP's activity as
                                                                     10, 2024, BidSwitch suspended Plaintiff from its platform
‘Sophisticated Invalid Traffic’ or ‘[c]ookie stuffing, recycling
                                                                     because of the claims in Defendant's post. This caused
or harvesting (inserting, deleting or misattributing cookies
                                                                     Plaintiff “significant financial harm” because “the majority of



               $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                            Appx. E-013 H
      Case 4:24-cv-01940              Document 46-3
&'('))*)$+,-./0$11&$23$4-/(56.7)$8,),/97:0$11&0$;(.<$&'<5$=>?>@A
                                                                  Filed on 04/14/25 in TXSD                Page 15 of 20
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Colossus SSP's revenue ... comes from transactions through           >M Plaintiff's amended complaint has three counts: federal
BidSwitch.” (ECF No. 9 ¶ 44). Lastly, Plaintiff alleges that in     false advertising and unfair competition under the Lanham
addition to the financial harm, Defendant's post has damaged        Act (Count I), defamation (Count II), and injurious falsehood
Plaintiff's “reputation and goodwill by accusing Colossus SSP       (Count III). (ECF No. 9). In its motion to dismiss, Defendant
of engaging in fraudulent activity and impeaching Colossus          argues that Plaintiff has failed to state a claim for each of these
SSP's honesty, integrity, and core business.” (ECF No. 9 ¶ 45).     counts. (ECF No. 19).

Plaintiff filed a complaint against Defendant on May 14, 2024
for violations of 15 U.S.C. § 1125 (“the Lanham Act”), as             &@$6NO3P3'-
well as defamation and injurious falsehood under Maryland           Defendant attaches several exhibits to its motion to dismiss:
law. (ECF No. 1). On June 3, 2024, Plaintiff filed an amended       the blog post, email correspondence between Plaintiff and
complaint. (ECF No. 9). Plaintiff asserts federal question          Defendant, and an article written based on Defendant's post.
jurisdiction and supplemental jurisdiction over the state law       (ECF Nos. 19-2; 19-3; 19-4). Defendant argues that the
claims, and Plaintiff also asserts diversity jurisdiction. On       court should consider the exhibits when resolving the motion
July 3, 2024, Defendant filed a motion to dismiss the amended       to dismiss 3 because all three exhibits are “integral to the
complaint. (ECF No. 19). On July 31, 2024, Plaintiff filed          complaint,” and “there can be no dispute” as to the post's
a response in opposition to Defendant's motion to dismiss.          authenticity, the correspondence is authentic, and “there can
(ECF No. 22). On August 14, 2024, Defendant filed a reply           be no dispute” as to the authenticity of the article. (ECF No.
in support of its motion to dismiss. (ECF No. 23).                  19-1, at 7 n.1, 8 n.2, 15 n.5).

                                                                    3
                                                                            In the alternative, Defendant argues that the court
==@$I'.*/.)/$(J$8+K3+1
                                                                            should treat the motion to dismiss as a motion
A motion to dismiss under Federal Rule of Civil Procedure
                                                                            for summary judgment. (ECF No. 23, at 19).
12(b)(6) tests the sufficiency of the complaint. &'()*(+$ ,-
                                                                            Under Fed. R. Civ. P. 12(d), a court may convert
./0+$ 12$ .34'*100(),/**(, 464 F.3d 480, 483 (4th Cir. 2006).
                                                                            a motion to dismiss into a motion for summary
“[T]he district court must accept as true all well-pleaded
                                                                            judgment and consider outside documents. “The
allegations and draw all reasonable factual inferences in
                                                                            court should not make such a conversion where
plaintiff's favor.” 54+)$ ,-$ 67'/89*(, 992 F.3d 295, 299 (4th
                                                                            the parties are not given notice and are not
Cir. 2021). A plaintiff's complaint needs only satisfy the
                                                                            afforded the opportunity to conduct reasonable
standard of Rule 8(a)(2), which requires a “short and plain
                                                                            discovery.” :(F/)$ ?I)-$ .'(D/0J$ KK.$ ,-$ ?'/F4D(
statement of the claim showing that the pleader is entitled
                                                                            H1*D/8F)J$ <8;-, No. 8:21-CV-00668-AAQ, 2022
to relief.” “[W]here the well-pleaded facts do not permit the
                                                                            WL 3716543, at *5 (D.Md. Aug. 29, 2022) (citing
court to infer more than the mere possibility of misconduct,
                                                                            .4'0('$,-$?4*0/B1'($.0+-J$54'+*48D, 39 Fed.Appx.
the complaint has alleged—but it has not ‘show[n]’—‘that
                                                                            930, 932-33 (4th Cir. 2002)). Defendant raises this
the pleader is entitled to relief.’ ” :)3;'120$ ,-$ <=>4*, 556
                                                                            argument in its Reply. Accordingly, Plaintiff has
U.S. 662, 679 (2009) (quoting Fed.R.Civ.P. 8(a)(2)). A Rule
                                                                            not been given adequate notice, and the court will
8(a)(2) “showing” requires “stat[ing] a claim to relief that
                                                                            not convert the motion to dismiss into a motion for
is plausible on its face.” ?(**$ :0*-$ .1'7-$ ,-$ @A1B>*+, 550
                                                                            summary judgment.
U.S. 544, 570 (2007). “A claim has facial plausibility when
the plaintiff pleads factual content that allows the court to       Plaintiff argues that the court should not consider the exhibits.
draw the reasonable inference that defendant is liable for the      Plaintiff contends that while the blog post is integral to
misconduct alleged.” 54+), 992 F.3d at 299-300 (quoting             its complaint, there is a dispute regarding the authenticity
<=>4*, 556 U.S. at 663). Legal conclusions couched as factual       of the version presented by Defendant. Plaintiff alleges
allegations are insufficient, <=>4*, 556 U.S. at 678, as are        that the version attached to the complaint is just one
conclusory factual allegations devoid of any reference to           version of several versions that Defendant provided to third
actual events, C8/0(D$?*4;9$E/'(2/F30(')$12$G1'21*9$,-$H/')0,       parties. (ECF No. 22, at 27-28). Additionally, Plaintiff argues
604 F.2d 844, 847 (4th Cir. 1979).                                  that the correspondence and article are not integral to the
                                                                    complaint, and Plaintiff disputes the authenticity of the
                                                                    correspondence because it “contains several redactions and is
===@$&*.L,-3-                                                       incomplete.” (ECF No. 22, at 27).


                $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                            Appx. E-014 I
      Case 4:24-cv-01940               Document 46-3
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                                                                   Filed on 04/14/25 in TXSD              Page 16 of 20
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“As a general rule, the court does not consider extrinsic            Defendant argues that Plaintiff has failed to state a claim
evidence at the motion to dismiss stage[.]” E4I*9(8>(''+             under the Lanham Act because the blog post is not
,-$ C-6-$ L(7M0$ 12$ L(2-, 670 F.Supp.3d 234, 249 (D.Md.             commercial speech required for commercial advertising or
2023) (quoting N(4B('$ ,-$ 6040($ :I01-$ 5I0-$ <8)-$ .1-, 556        promotion under the Lanham Act, Plaintiff did not adequately
F.Supp.3d 544, 549 (D.Md. 2021), 422MD, No. 21-2432, 2022            allege that the post proximately caused its damages, and
WL 17985700 (4th Cir. Dec. 29, 2022)). “However, ‘the                Plaintiff failed to identify any false or misleading description
court may consider, without converting the motion to dismiss         of fact. (ECF No. 19-1, at 7-15).
into one for summary judgment, documents attached to the
complaint as exhibits, and documents attached to a motion            In relevant part, the Lanham Act provides that:
to dismiss if the document is integral to the complaint and
there is no dispute about the document's authenticity.’ ”              (1) Any person who, on or in connection with any
E4I*9(8>(''+, 670 F.Supp.3d at 249 (quoting N(4B(', 556                goods or services, or any container for goods, uses in
F.Supp.3d at 549). “A document is integral to the complaint            commerce any word, term, name, symbol, or device,
if its very existence, and not the mere information it contains,       or any combination thereof, or any false designation of
gives rise to the legal rights asserted.” E4I*9(8>(''+, 670            origin, false or misleading description of fact, or false or
F.Supp.3d at 249 (quoting N(4B(', 556 F.Supp.3d at 549)                misleading representation of fact, which--
(internal quotation marks omitted).
                                                                          ....

 >Q As discussed above, there is a dispute regarding the                  (B) in commercial advertising or promotion,
authenticity of the post and the correspondence, and the article          misrepresents the nature, characteristics, qualities, or
is not integral to the complaint. Therefore, at the motion                geographic origin of his or her or another person's goods,
to dismiss stage, the court will not consider the documents               services, or commercial activities,
outside of the complaint.
                                                                       shall be liable in a civil action by any person who believes
                                                                       that he or she is or is likely to be damaged by such act.
   A@$R(E*'$=S$0.*O.4$&B'$2.L-+$&/K+)'3-3*D$.*/$;*J.3)
   R(4T+'3'3(*                                                       15 U.S.C. § 1125(a).
Plaintiff alleges that Defendant violated the Lanham Act
by making “false and misleading statements in commercial             The United States Court of Appeals for the Fourth Circuit has
advertising and promotion.” (ECF No. 9 ¶ 47). Further,               held that:
Plaintiff alleges that these statements “were made in an
                                                                       [A] plaintiff asserting a false advertising claim under the
effort to damage Colossus SSP's business and reputation for
                                                                       Lanham Act must establish that:
the purpose of selling Adalytics' services and winning new
business from ad buyers.” (ECF No. 9 ¶ 48). Plaintiff alleges             (1) the defendant made a false or misleading description
that the “statements are false and misleading descriptions                of fact or representation of fact in a commercial
of fact that have or are likely to cause confusion, mistake,              advertisement about his own or another's product;
or deception and misrepresented the nature, characteristics,              (2) the misrepresentation is material, in that it is
and qualities of Colossus SSP's business and the services                 likely to influence the purchasing decision; (3) the
that it offers.” (ECF No. 9 ¶ 49). Plaintiff contends                     misrepresentation actually deceives or has the tendency
that the “statements have materially influenced, or are                   to deceive a substantial segment of its audience; (4) the
likely to materially influence, purchasing decisions because
                                                                          defendant placed the false or misleading statement in
publishers, ad buyers, and ad technology vendors are misled               interstate commerce; and (5) the plaintiff has been or is
to incorrectly believe that Colossus SSP is disreputable, is              likely to be injured as a result of the misrepresentation,
untrustworthy, and employs fraudulent business practices                  either by direct diversion of sales or by a lessening of
when it does not.” (ECF No. 9 ¶ 50). Lastly, Plaintiff alleges            goodwill associated with its products.
that the false statements “have caused and will continue
to cause the loss of goodwill and the loss of current and
prospective customers and industry partners.” (ECF No. 9 ¶
52).


               $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                            Appx. E-015 (
      Case 4:24-cv-01940                Document 46-3
&'('))*)$+,-./0$11&$23$4-/(56.7)$8,),/97:0$11&0$;(.<$&'<5$=>?>@A
                                                                     Filed on 04/14/25 in TXSD                 Page 17 of 20
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                                                                           similarly context-specific. These factors are all illustrative,
 >U 6;100)$.1-$,-$C8/0(D$<8DI)-$.1'7-, 315 F.3d 264, 272 (4th              but none are determinative. A message may bear many
Cir. 2002) (citations omitted). The parties dispute whether                of these qualities yet not be commercial speech; and a
Plaintiff has alleged the first and fifth elements.                        message may lack some of these qualities yet still be
                                                                           commercial speech. The Supreme Court has identified
                                                                           three qualities of commercial speech: whether the message
   ?@$R(44+)B3.L$&/K+)'3-+4+*'
                                                                           is economically motivated, promotes a specific product,
“The Lanham Act does not define ‘commercial advertising
                                                                           and is an advertisement. ?1*F('$ ,-$ R1I8F)$ L'IF$ &'1D)-
or promotion.’ And neither the Supreme Court nor [the
                                                                           .1'7-, 463 U.S. 60, 66-67, 103 S.Ct. 2875, 77 L.Ed.2d 469
Fourth Circuit] has determined how to assess whether
                                                                           (1983) .... Our own precedent has alluded to yet another
a communicative message is commercial advertising or
                                                                           quality of commercial speech: whether the message is
promotion.” H48D)1B($?'119$E4'BJ$KK.$,-$HIB48($E4'B
                                                                           “placed in a commercial context and [is] directed at the
:8/B4*$.4'(J$<8;-, 700 F.App'x 251, 256 (4th Cir. 2017), cited
                                                                           providing of services rather than toward an exchange of
approvingly in L($6/B18($,-$O6K$&34'B4;(I0/;4*)J$<8;-, 36
                                                                           ideas.” P'(40('$?4*0-$.0'-$21'$&'(F848;+$.18;('8)J$<8;-$,-
F.4th 518, 532 (4th Cir. 2022). In H48D)1B($?'119$E4'B, the
                                                                           54+1'$Q$./0+$.1I8;/*$12$?4*0-, 721 F.3d 264, 286 (4th Cir.
court cited to multiple other circuit courts that adopted all four
                                                                           2013) (quoting E4'F1$S1B(8M)$H(4*03$T'F-J$<8;-$,-$K4')18,
factors defining commercial advertisement set out in P1'D18
                                                                           381 N.W.2d 176 (N.D. 1986), ;('0-$D(8/(D, 476 U.S. 1108,
Q$ ?'(4;3$ 6;/(8;($ &I>*/)3(')$ ,-$ :B-$ <8)0/0I0($ 12$ &3+)/;),
                                                                           106 S.Ct. 1957, 90 L.Ed.2d 365 (1986)).
859 F.Supp. 1521, 1536 (S.D.N.Y. 1994). H48D)1B($?'119
E4'B, 700 F.App'x at 256. The H48D)1B($?'119$E4'B panel                >V H48D)1B($?'119$E4'B, 700 F.App'x at 257–58.
ultimately agreed with the Sixth Circuit and adopted three
of the four factors, stating that commercial advertisement             In L($ 6/B18(, the Fourth Circuit quoted H48D)1B($ ?'119
under the Lanham Act is (1) “commercial speech” (2) “for the           E4'B, finding that:
purpose of influencing consumers to buy goods or services”
and “while the representation need not be a classic advertising            Speech is more likely commercial when the declarant
campaign, but may include more informal types of promotion,                “hoped to realize an economic gain when disseminating
the representations [(3)] must be sufficiently disseminated                its message.” [H48D)1B($ ?'119$ E4'B, 700 F.App'x] at
to the relevant purchasing public to constitute advertising                258. “When a message communicates both commercial and
or promotion within that industry.” H48D)1B($?'119$E4'B,                   noncommercial speech, it is treated like commercial speech
700 F.App'x at 256 (first quoting P1'D18$ Q$ ?'(4;3$ 6;/-                  unless the commercial and noncommercial messages are
&I>*/)3('), 859 F.Supp. at 1536); and then citing P'I>>)$,-                inextricably intertwined.” [H48D)1B($ ?'119$ E4'B, 700
63(49*(+$P'7-J$<8;-, 807 F.3d 785, 800-01 (6th Cir. 2015)).                F.App'x] at 261 (cleaned up).

While H48D)1B($ ?'119$ E4'B is an unpublished opinion,                 L($6/B18(, 36 F.4th at 532. 4
the Fourth Circuit cited H48D)1B($ ?'119$ E4'B in a later
published opinion, L($6/B18($,-$O6K$&34'B4;(I0/;4*)J$<8;-,             4
                                                                                In N/*(+$ ,-$ G40/184*$ E(D('40/18$ 12$ 03($ ?*/8D$ 12
36 F.4th 518, 532 (4th Cir. 2022), and set out a summary                        G1'03$.4'1*/84J$<8;-, 487 U.S. 781 (1988), the case
of the test from H48D)1B($?'119$E4'B- The Fourth Circuit                        cited in H48D)1B($ ?'119$ E4'B, the Court noted
stated that “[u]nder the Lanham Act, ‘commercial advertising                    that where “the component parts of a single speech
or promotion’ is ‘commercial speech ... for the purpose                         are inextricably intertwined, we cannot parcel out
of influencing consumers to buy goods or services.’ ” L(                        the speech, applying one test to one phrase and
6/B18(, 36 F.4th at 532 (quoting H48D)1B($?'119$E4'B, 700                       another test to another phrase.” <D- at 796. Here,
F.App'x at 256).                                                                neither party analyzes whether the post contains
                                                                                both commercial and noncommercial speech,
The panel in H48D)1B($?'119$E4'B stated:                                        and whether those messages are inextricably
                                                                                intertwined.
  Neither our precedent, nor the Supreme Court, has issued
  any determinative standard by which to assess if a message           Plaintiff has alleged commercial speech under the detailed
  is commercial speech. The Supreme Court has highlighted              framework set out in H48D)1B($ ?'119$ E4'B, as well as
  a handful of considerations, and our own cases have been             under the framework set out in L($6/B18(. Plaintiff asserts



               $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                                 Appx. E-016 /
      Case 4:24-cv-01940               Document 46-3
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                                                                    Filed on 04/14/25 in TXSD                Page 18 of 20
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that Defendant's post was economically motivated because                           consistent misdeclarations of user IDs
Plaintiff alleges that “[a]dvertisement buyers pay Adalytics                       —that is, the TDID declared by
for information on ad technology vendors and publishers that                       Colossus SSP in its bid request did
improperly serve their advertisements.” (ECF No. 9 ¶ 17).                          not match the user's actual cookie
Further, Plaintiff asserts that Defendant “hoped to realize                        TDID. The post further concluded
an economic gain” because Plaintiff alleges that “Adalytics                        that for the other fifteen SSPs, the
acknowledges that its posts are generated to advertise its                         TDID declared by the SSP “always
services, stating: ‘Like many other companies, we release                          perfectly” matched the user's actual
thought leadership on systemic issues affecting brands and                         cookie TDID.
their media investments ... to ... attract new clientele.’ ” (ECF
No. 9 ¶ 18). Plaintiff also alleges that Defendant's “business
thrives on creating distrust between advertiser buyers and            (ECF No. 9 ¶ 25). Plaintiff alleges that these statements “are
advertising technology vendors and products. Adalytics is             false and misleading.” (ECF No. 9 ¶ 26). Plaintiff states that
known for publishing inflammatory blog posts regarding                it “does not mis-declare or otherwise manipulate or alter user
advertising technology vendors and products for the purpose           IDs in its bid requests.” Plaintiff contends that
of winning new advertiser customers.” (ECF No. 9 ¶ 19).

While Plaintiff does not contend that Defendant promotes
                                                                                   it is not possible for Colossus SSP
a specific product in the post itself, Plaintiff alleges                           to mis-declare a user's TDID because
that the post serves as an advertisement for its product
                                                                                   Colossus SSP connects to Trade Desk
because Defendant posts “inflammatory blog posts regarding
                                                                                   through BidSwitch and has no control
advertising technology vendors and products for the purpose
                                                                                   or knowledge of whether BidSwitch
of winning new advertiser customers.” (ECF No. 9 ¶ 19).
                                                                                   sends a particular bid request to Trade
                                                                                   Desk or another DSP. And even if
Accordingly, at this motion to dismiss stage, Plaintiff has
                                                                                   BidSwitch sends a bid request to Trade
sufficiently alleged commercial speech. Defendant does                             Desk, Colossus SSP has no knowledge
not argue that Plaintiff fails to allege the other elements
                                                                                   of the TDIDs or the values associated
of a commercial advertisement; accordingly, Plaintiff has
                                                                                   with those TDIDs.
sufficiently alleged commercial advertisement.


   F@$2.L-+$I'.'+4+*'-$(J$2.B'                                        (ECF No. 9 ¶ 26).
Plaintiff alleges that “[t]he post portrayed Colossus SSP as
mis-declaring user IDs in its bid requests for the purpose of         Additionally, Plaintiff alleges that, while the post falsely
selling ad space at higher prices to ad buyers seeking to serve       stated that for the other fifteen SSPs, the TDIDs “ ‘always
advertisements to a targeted audience.” (ECF No. 9 ¶ 24).             perfectly’ matched the user's actual cookie TDID,” “there
Plaintiff further alleges that:                                       were discrepancies between the TDID sent in the bid response
                                                                      and the TDID in the user's browser for transactions between
                                                                      Trade Desk and other SSPs that connect to Trade Desk
                                                                      through an intermediary.” (ECF No. 9 ¶¶ 27-28). Plaintiff
              >W In the post, Adalytics purported to
                                                                      alleges upon information and belief Defendant “doctored” a
             analyze and compare advertisements
                                                                      screenshot in its post to illustrate a lack of discrepancies for a
             and bid responses on the Trade
             Desk DSP through 16 different SSPs,                      different SSP. (ECF No. 9 ¶¶ 29-30).
             including Colossus SSP, in order to
             match the TDID declared by the SSP                       Defendant argues that, taken in context of the full post, the
                                                                      statements were not false or misleading. (ECF No. 19-1, at
             in its bid request and the actual cookie
                                                                      17-19). Defendant cites to multiple other parts of the post and
             TDID stored in the user's browser. The
             post concluded that Colossus SSP is                      correspondence with Plaintiff to show that, when viewed as
                                                                      a whole, the post does not accuse Plaintiff of intentionally
             the only SSP for which there were
                                                                      misrepresenting user IDs. (ECF Nos. 19-1, at 17-19; 23,


               $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                              Appx. E-017 +
      Case 4:24-cv-01940                Document 46-3
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                                                                     Filed on 04/14/25 in TXSD               Page 19 of 20
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at 6-9). While Plaintiff also states that the post should be           As discussed above, the court will not consider the article at
considered “in its entirety” (ECF No. 22, at 8), Plaintiff did         this motion to dismiss stage. Moreover, Plaintiff has alleged
not attach the post, and Plaintiff contends that there are several     that Defendant's post, and not just the other article, caused
other versions of the post.                                            Plaintiff injury. Plaintiff alleged that Defendant gave the
                                                                       media a copy of the post prior to publishing it, and Trade
Defendant is attempting to pursue summary judgment at the              Desk suspended business with Plaintiff on May 9, 2024, a day
motion to dismiss stage. At the motion to dismiss stage,               before the May 10, 2024, article was published. (ECF No. 9 ¶
the question is whether Plaintiff has plausibly alleged a              43). Therefore, at this stage, Plaintiff has sufficiently alleged
false or misleading statement in the complaint. As set out             that Defendant caused Plaintiff injury. Accordingly, Plaintiff
above, Plaintiff has alleged that Defendant made a false or            has plausibly alleged a violation under the Lanham Act, and
misleading statement in its post.                                      Defendant's motion to dismiss will be denied as to this claim.


   G@$=*XE),                                                             R@$R(E*'$==S$:+J.4.'3(*
Plaintiff alleges that after Defendant shared an advanced              Plaintiff alleges that Defendant's post was defamation under
copy of the post with the media on or about May 8                      Maryland law. (ECF No. 9 ¶¶ 53-59). Plaintiff alleges that
or 9, 2024, “on May 9, 2024, Trade Desk suspended                      Defendant “published false statements to the public, actual
business with Colossus SSP because of the post's claims                and prospective customers of Colossus SSP, and members
that Colossus SSP misrepresented user IDs in its bid                   of the industry.” (ECF No. 9 ¶ 54). Plaintiff alleges that
requests.” (ECF No. 9 ¶ 43). Additionally, several hours after         Defendant acted with “actual malice” because Defendant
Defendant published the post on May 10, 2024, BidSwitch                “knew that its statements were false and/or misleading based
suspended Plaintiff from its platform because of the claims in         on its expertise in advertising technology and programmatic
Defendant's post. This caused Plaintiff “significant financial         advertising” and because Plaintiff repeatedly informed
harm” because “the majority of Colossus SSP's revenue ...              Defendant that the post was false before Defendant published
comes from transactions through BidSwitch.” Lastly, Plaintiff          the post. (ECF No. 9 ¶ 58).
alleges that in addition to the financial harm, Defendant's
post has damaged Plaintiff's “reputation and goodwill by               Plaintiff also alleges that “Adalytics' false, misleading,
accusing Colossus SSP of engaging in fraudulent activity               disparaging, and defamatory statements directly and
and impeaching Colossus SSP's honesty, integrity, and core             proximately injured Colossus SSP, causing the loss of
business.” (ECF No. 9 ¶¶ 44-45).                                       customers and industry partners and resulting in special
                                                                       damages, as well as the loss of good will and reputational
 >?Y Defendant argues that Plaintiff has not sufficiently              injury.” (ECF No. 9 ¶ 59).
alleged that Plaintiff's injuries were proximately caused by
Defendant's post. (ECF No. 19, at 15). Defendant cites one             Defendant argues that Plaintiff has failed to state a defamation
of the articles published on May 10, 2024, that reported that          claim under Maryland law because Plaintiff did not allege
Trade Desk had known about the issues with Plaintiff for               defamatory statements. (ECF No. 19-1, at 21). Additionally,
over a year. Defendant further quotes the article, seemingly           Plaintiff failed to allege properly that Defendant had the
to suggest that BidSwitch suspended relations with Plaintiff           required degree of fault to allege legal fault. (ECF No. 19-1,
because Plaintiff implied BidSwitch was at fault for the               at 22).
mismatched user IDS. (ECF No. 19-1, at 16). Defendant
also argues that despite Plaintiff's claim that Defendant's post       This court has previously stated:
has damaged Plaintiff's “reputation and goodwill by accusing
Colossus SSP of engaging in fraudulent activity,” the post               Under Maryland law, a properly pleaded defamation claim
did not accuse Plaintiff of fraudulent activity. (ECF No.                is accompanied by specific facts establishing the following
19-1, at 16). Lastly, Defendant argues that “any purportedly             four elements: “(1) that the defendant made a defamatory
defamatory statements made by other publications should be               statement to a third person, (2) that the statement was
addressed with those other publications.” (ECF No. 19-1, at              false, (3) that the defendant was legally at fault in making
16).                                                                     the statement, and (4) that the plaintiff thereby suffered
                                                                         harm.” &/);40(**/$,-$O48$6B/03, 424 Md. 294, 306 (2012)




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      Case 4:24-cv-01940               Document 46-3
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                                                                    Filed on 04/14/25 in TXSD                 Page 20 of 20
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                                                                        Plaintiff alleges that Defendant's post was injurious
  (quoting <8D(7-$G(A)747(')J$<8;-$,-$?'1D/(, 407 Md. 415,
                                                                        falsehood because Defendant “published false, misleading,
  441 (2009)).
                                                                        and disparaging statements about Colossus SSP's business
?49('%&'1;01'$ ,-$ &G.$ ?489J$ G-:-, No. 21-CV-3299-DKC,                to the public, actual and prospective customers of Colossus
2023 WL 1801932, at *2 (D.Md. Feb. 7, 2023). The parties                SSP, and members of the industry.” (ECF No. 9 ¶ 61).
dispute whether Plaintiff has alleged the first and third               Plaintiff alleges that Defendant acted with “actual malice”
elements.                                                               because Defendant “knew that its statements were false
                                                                        and/or misleading based on its expertise in advertising
  For purposes of the first element, a “defamatory statement”           technology and programmatic advertising” and because
  is one that tends to expose a person to “ ‘public scorn,              Plaintiff repeatedly informed Defendant that the post was
  hatred, contempt, or ridicule,’ ” which, as a consequence,            false before Defendant published the post. (ECF No. 9 ¶ 58).
  discourages “ ‘others in the community from having a good
  opinion of, or associating with, that person.’ ” ?'1D/(, 407          Defendant argues that Plaintiff has not adequately pled actual
  Md. at 441, 966 A.2d at 448 (quoting T22(8 [,-$?'(88('],              malice and special damages. (ECF No. 19-1, at 25-27).
  402 Md. [191] [ ] 198–99, 935 A.2d [719,] 724 (2007)).
                                                                        “To maintain a claim for injurious falsehood, the plaintiff
&/);40(**/, 424 Md. at 306.
                                                                        must establish that the defendant acted with malice in
                                                                        publishing to a third party a known falsity that caused
As discussed above, Plaintiff has alleged that Defendant made
                                                                        special damages.” N(DB18D)$ U80('-J$ <8;-$ ,-$ .6V$ @'48)7-J
“false and misleading” statements that damaged Plaintiff's
                                                                        <8;-, No. 16-CV-3943-CCB, 2017 WL 2335598, at *4–5
“reputation and goodwill.” Plaintiff alleged that the “[t]he
                                                                        (D.Md. May 30, 2017) (citing G40M*$ ?D-$ 21'$ .('0/2/;40/18
post portrayed Colossus SSP as mis-declaring user IDs in its
                                                                        /8$T;;I740/184*$@3('47+J$<8;-$,-$:B-$T;;I740/184*$@3('47+
bid requests for the purpose of selling ad space at higher prices
                                                                        :))M8, 24 F.Supp.2d 494, 511 (D.Md. 1998)). “A plaintiff has
to ad buyers seeking to serve advertisements to a targeted
                                                                        pled special damages where it asserts the loss of a present or
audience.” (ECF No. 9 ¶ 24). Plaintiff has also alleged
                                                                        prospective advantage.” N(DB18D)$U80('-J$<8;-, No. 2017 WL
that Defendant's post led to some of its business partners
                                                                        2335598, at *5 (citing G40M*$?D-, 24 F.Supp.2d at 511). Under
suspending their relationships with Plaintiff, meaning “others
                                                                        Fed. R. Civ. P. 9(g), “[i]f an item of special damage is claimed,
in the community” were discouraged from “associating with”
                                                                        it must be specifically stated.”
Plaintiff.

                                                                        As discussed above, Plaintiff has alleged Defendant acted
To satisfy the element of legal fault, a plaintiff can allege
                                                                        with malice in publishing a known falsity because Plaintiff
negligence or actual malice, alleging a defendant “published
                                                                        alleged Defendant knew the statements in the post were
a statement with actual knowledge of its falsity.” 5(0'1-
                                                                        false. Additionally, Plaintiff has pled special damages because
E/8-$ 6(',)-$ ,-$ O4*(), No. 2005-CV-2330-DKC, 2005 WL
                                                                        Plaintiff alleged that Trade Desk and BidSwitch suspended
8174682, at *3 (D.Md. Nov. 14, 2005) (citing 64BI(*)
                                                                        relationships with Plaintiff after the post was published.
,-$ @);3(;30(*/8, 135 Md.App. 483, 544 (2000)). Plaintiff
                                                                        At this stage, Plaintiff has sufficiently alleged injurious
has sufficiently alleged actual knowledge because Plaintiff
                                                                        falsehood, and Defendant's motion to dismiss will be denied
alleged that Defendant “knew that its statements were false
                                                                        as to this claim.
and/or misleading based on its expertise in advertising
technology and programmatic advertising” and because
Plaintiff repeatedly informed Defendant that the post was               =Z@$R(*BLE-3(*
false before Defendant published the post. (ECF No. 9 ¶ 58).             >?F For the foregoing reasons, Defendant's motion to
Accordingly, Plaintiff has sufficiently alleged a defamation            dismiss will be denied. A separate order will follow.
claim under Maryland law, and Defendant's motion to dismiss
will be denied as to this claim.
                                                                        &LL$R3'.'3(*-

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               $0$&'&($1234536$789:8;5<$=3$>?@A4$:3$3;ABA6@?$C<D<$E3F8;6486:$)3;G5<                                Appx. E-019 -
